                                 Case 24-16283-JKS Doc 21-2 Filed 10/15/24 Entered 10/15/24 15:36:04                                             Desc
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August
8/1/2024-8/31/2024
Cash Disbursements
Date        Description                                                                    Source                    Statement Period   Amount         Account Designation
8/23/2024 ATM WITHDRAWAL       PNCPX3469 N0823 9967 1110 N 9TH ST         STROUDSBURG PA   PNC Joint Checking 2001   August Export      $     (400.00) ATMs
8/5/2024    ATM WITHDRAWAL     MACXB3892 N0803 5390 550 MAIN ST            BROCKWAY PA     Lisa Personal 4943 DIP    August Export      $      (51.00) ATMs
8/9/2024    DEBIT CARD PURCHASE XXXXX9967 MR TIRE 797 00007971 SHREWSBURY PA               PNC Joint Checking 2001   August Export      $     (568.58) Auto Maintenance
8/14/2024 MONTHLY SERVICE CHARGE           LD                                              Lisa Personal 4943 DIP    August Export      $      (25.00) Bank Fees
8/14/2024 INTL PURCH & ADV FEE VIS 0813       PL                                           Lisa Personal 4943 DIP    August Export      $       (0.39) Bank Fees
8/1/2024    CHECK        7463    019069142                                                 PNC Joint Checking 2001   August Export      $     (985.80) Checks Written
8/21/2024 CHECK           817   087536880                                                  PNC Joint Checking 2001   August Export      $     (460.00) Checks Written
8/7/2024    DEBIT CARD PURCHASE XXXXX0646 TJ MAXX #826           STROUDSBURG PA            PNC Joint Checking 2001   August Export      $     (121.99) Clothing and Shoes
8/20/2024 DEBIT CARD PURCHASE XXXXX9967 MARSHALL MACHINERY INC TANNERSVILL PA              PNC Joint Checking 2001   August Export      $     (250.00) Clothing and Shoes
8/7/2024    ACH WEBRECUR CKFXXXXX8710POS KUBOTA CREDIT ONLINE PMT                          PNC Joint Checking 2001   August Export      $     (300.00) Credit Card Payment
8/9/2024    ACH WEB     CKFXXXXX8710POS FLAGSTAR BANK ONLINE PMT                           PNC Joint Checking 2001   August Export      $   (1,000.00) Credit Card Payment
8/26/2024 ACH WEB       CKFXXXXX2222POS BK OF AMER VISA ONLINE PMT                         PNC Joint Checking 2001   August Export      $     (237.62) Credit Card Payment
8/30/2024 RECURRING DEBIT CARD XXXXX7243 APPLECOMBILL               XXXXX7753 CA           PNC Joint Checking 2001   August Export      $       (9.99) Electronics
8/28/2024 N0828 5390 PAYMENT POS00001000 0585620 Hulu             SANTA MONICA CA          Lisa Personal 4943 DIP    August Export      $       (4.23) Electronics
8/8/2024    RECURRING DEBIT CARD XXXXX6221 Spotify USA         XXXXX1161 NY                PNC Joint Checking 2001   August Export      $      (21.19) Entertainment
8/23/2024 RECURRING DEBIT CARD XXXXX7236 Netflix.com          netflix.com CA               PNC Joint Checking 2001   August Export      $      (24.37) Entertainment
8/1/2024    DEBIT CARD PURCHASE XXXXX0646 SUNOCO XXXXX6902             STROUDSBURG PA      PNC Joint Checking 2001   August Export      $      (27.31) Gas and Fuel
8/9/2024    DEBIT CARD PURCHASE XXXXX9967 KWIK FILL 213          CLEARFIELD PA             PNC Joint Checking 2001   August Export      $      (25.03) Gas and Fuel
8/12/2024 DEBIT CARD PURCHASE XXXXX9967 SUNOCO XXXXX4400               STROUDSBURG PA      PNC Joint Checking 2001   August Export      $      (43.06) Gas and Fuel
8/19/2024 DEBIT CARD PURCHASE XXXXX0646 EXXON ORION FUEL LLC             SWIFTWATER PA     PNC Joint Checking 2001   August Export      $      (76.64) Gas and Fuel
8/19/2024 DEBIT CARD PURCHASE XXXXX9967 COUNTRY FAIR #64              BRADFORD PA          PNC Joint Checking 2001   August Export      $       (3.49) Gas and Fuel
8/19/2024 DEBIT CARD PURCHASE XXXXX9967 SUNOCO XXXXX9900               NICHOLS NY          PNC Joint Checking 2001   August Export      $      (73.01) Gas and Fuel
8/19/2024 DEBIT CARD PURCHASE XXXXX0646 SUNOCO XXXXX1300               EXPORT     PA       PNC Joint Checking 2001   August Export      $      (83.41) Gas and Fuel
8/19/2024 DEBIT CARD PURCHASE XXXXX0646 SUNOCO XXXXX1300               EXPORT     PA       PNC Joint Checking 2001   August Export      $      (11.41) Gas and Fuel
8/20/2024 DEBIT CARD PURCHASE XXXXX9967 EXXON SHRI-YOGINC.              TANNERSVILL PA     PNC Joint Checking 2001   August Export      $       (5.25) Gas and Fuel
8/20/2024 DEBIT CARD PURCHASE XXXXX9967 COUNTRY FAIR #64              BRADFORD PA          PNC Joint Checking 2001   August Export      $      (25.02) Gas and Fuel
8/23/2024 DEBIT CARD PURCHASE XXXXX9967 GAS N GOODS               SCIOTA     PA            PNC Joint Checking 2001   August Export      $      (40.04) Gas and Fuel
8/26/2024 DEBIT CARD PURCHASE XXXXX9967 GAS N GOODS               SCIOTA     PA            PNC Joint Checking 2001   August Export      $      (15.02) Gas and Fuel
8/30/2024 DEBIT CARD PURCHASE XXXXX0646 GIANT FUEL 6504             EAST STROUD PA         PNC Joint Checking 2001   August Export      $      (68.68) Gas and Fuel
8/1/2024    DEBIT CARD PURCHASE XXXXX0646 WAL-MART #2663             EBENSBURG PA          PNC Joint Checking 2001   August Export      $      (31.77) General Merchandise
8/1/2024    DEBIT CARD PURCHASE XXXXX9967 ARARMARK BRADFORD REGI BRADFORD PA               PNC Joint Checking 2001   August Export      $       (7.09) General Merchandise
8/2/2024    RECURRING DEBIT CARD XXXXX7215 BJS MEMBERSHIP             XXXXX2582 MA         PNC Joint Checking 2001   August Export      $     (140.00) General Merchandise
8/6/2024    DEBIT CARD PURCHASE XXXXX9967 AMAZON MKTPL*RF2AF4H71 Amzn.com/bi WA            PNC Joint Checking 2001   August Export      $      (63.55) General Merchandise
8/8/2024    DEBIT CARD PURCHASE XXXXX9967 AMAZON MKTPL*RM01P7Z22 Amzn.com/bi WA            PNC Joint Checking 2001   August Export      $      (20.13) General Merchandise
8/8/2024    DEBIT CARD PURCHASE XXXXX9967 AMAZON MKTPL*RF9B59RQ1 Amzn.com/bi WA            PNC Joint Checking 2001   August Export      $      (15.88) General Merchandise
8/9/2024    DEBIT CARD PURCHASE XXXXX9967 AMAZON MKTPL*RM6UO84M1 Amzn.com/bi WA            PNC Joint Checking 2001   August Export      $      (48.66) General Merchandise
8/12/2024 DEBIT CARD PURCHASE XXXXX0646 WM SUPERCENTER #2368              EAST STROUD PA   PNC Joint Checking 2001   August Export      $     (153.33) General Merchandise
8/12/2024 DEBIT CARD PURCHASE XXXXX9967 AMAZON MKTPL*RM9XY8E40 Amzn.com/bi WA              PNC Joint Checking 2001   August Export      $      (46.62) General Merchandise
8/19/2024 DEBIT CARD PURCHASE XXXXX0646 BJS WHOLESALE #0319             STROUDSBURG PA     PNC Joint Checking 2001   August Export      $     (130.32) General Merchandise
8/19/2024 DEBIT CARD PURCHASE XXXXX9967 Amazon.com*RU67M83S1            Amzn.com/bi WA     PNC Joint Checking 2001   August Export      $      (18.09) General Merchandise
8/19/2024 DEBIT CARD PURCHASE XXXXX9967 AMAZON MKTPL*RU1ZZ2JY0 Amzn.com/bi WA              PNC Joint Checking 2001   August Export      $      (45.45) General Merchandise
8/20/2024 DEBIT CARD PURCHASE XXXXX9967 AMAZON.COM*R41QP5TY2               SEATTLE WA      PNC Joint Checking 2001   August Export      $      (23.02) General Merchandise
8/22/2024 DEBIT CARD PURCHASE XXXXX9967 AMAZON RETA* RU75M4RX0 WWW.AMAZON. WA              PNC Joint Checking 2001   August Export      $      (70.47) General Merchandise
8/22/2024 DEBIT CARD PURCHASE XXXXX9967 AMAZON MKTPL*RU38U5YU1 Amzn.com/bi WA              PNC Joint Checking 2001   August Export      $      (52.99) General Merchandise
8/22/2024 DEBIT CARD PURCHASE XXXXX9967 AMAZON MKTPL*R44T32G92 Amzn.com/bi WA              PNC Joint Checking 2001   August Export      $     (119.02) General Merchandise
8/23/2024 DEBIT CARD PURCHASE XXXXX9967 WM SUPERCENTER #1640              STATE COLLE PA   PNC Joint Checking 2001   August Export      $     (299.03) General Merchandise
8/23/2024 DEBIT CARD PURCHASE XXXXX9967 WAL-MART #1640               STATE COLLE PA        PNC Joint Checking 2001   August Export      $     (325.94) General Merchandise
8/23/2024 DEBIT CARD PURCHASE XXXXX9967 TARGET          00027573 PITTSBURGH PA             PNC Joint Checking 2001   August Export      $      (47.18) General Merchandise
8/23/2024 DEBIT CARD PURCHASE XXXXX0646 WM SUPERCENTER #2368              EAST STROUD PA   PNC Joint Checking 2001   August Export      $      (74.96) General Merchandise
8/26/2024 DEBIT CARD PURCHASE XXXXX0646 HOMEGOODS #1025               EAST STROUD PA       PNC Joint Checking 2001   August Export      $     (142.17) General Merchandise
8/26/2024 DEBIT CARD PURCHASE XXXXX0646 WAL-MART #2368               EAST STROUD PA        PNC Joint Checking 2001   August Export      $     (607.22) General Merchandise
8/26/2024 DEBIT CARD PURCHASE XXXXX9967 AMAZON MKTPL*R42WC3080 Amzn.com/bi WA              PNC Joint Checking 2001   August Export      $       (5.29) General Merchandise
8/26/2024 DEBIT CARD PURCHASE XXXXX9967 AMAZON RETA* R444V8K72 WWW.AMAZON. WA              PNC Joint Checking 2001   August Export      $     (105.95) General Merchandise
8/27/2024 DEBIT CARD PURCHASE XXXXX9967 AMAZON MKTPL*R41147KI1 Amzn.com/bi WA              PNC Joint Checking 2001   August Export      $      (42.14) General Merchandise
8/29/2024 DEBIT CARD PURCHASE XXXXX9967 AMAZON MKTPL*RK80F5QH2 Amzn.com/bi WA              PNC Joint Checking 2001   August Export      $      (25.43) General Merchandise
8/29/2024 DEBIT CARD PURCHASE XXXXX9967 AMAZON MKTPL*RK9YZ8ZV0 Amzn.com/bi WA              PNC Joint Checking 2001   August Export      $       (9.53) General Merchandise
8/29/2024 DEBIT CARD PURCHASE XXXXX9967 AMAZON MKTPL*RK71A1F31 Amzn.com/bi WA              PNC Joint Checking 2001   August Export      $      (10.49) General Merchandise
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8/30/2024   DEBIT CARD PURCHASE XXXXX0646 WAL-MART #2368          EAST STROUD PA                          PNC Joint Checking 2001   August Export   $      (42.04) General Merchandise
8/30/2024   DEBIT CARD PURCHASE XXXXX9967 Amazon.com*RK1260ER0       Amzn.com/bi WA                       PNC Joint Checking 2001   August Export   $       (7.41) General Merchandise
8/14/2024   DEBIT CARD PURCHASE XXXXX5390 PHOTOAID            15-540 BIAL PL                              Lisa Personal 4943 DIP    August Export   $      (12.99) General Merchandise
8/16/2024   RECURRING DEBIT CARD XXXXX0229 EARTHBREEZE.COM           EARTHBREEZE OR                       Lisa Personal 4943 DIP    August Export   $      (12.72) General Merchandise
8/16/2024   RECURRING DEBIT CARD XXXXX0229 WMT PLUS AUG 2024        XXXXX6546 AR                          Lisa Personal 4943 DIP    August Export   $      (13.73) General Merchandise
8/21/2024   DEBIT CARD PURCHASE XXXXX5390 AMAZON MKTPL*R46AF1P52 Amzn.com/bi WA                           Lisa Personal 4943 DIP    August Export   $      (16.70) General Merchandise
8/23/2024   DEBIT CARD PURCHASE XXXXX5390 AMAZON MKTPL*R433O8T81 Amzn.com/bi WA                           Lisa Personal 4943 DIP    August Export   $      (21.88) General Merchandise
8/26/2024   DEBIT CARD PURCHASE XXXXX5390 AMAZON MKTPL*R422P56L1 Amzn.com/bi WA                           Lisa Personal 4943 DIP    August Export   $      (11.45) General Merchandise
8/26/2024   DEBIT CARD PURCHASE XXXXX5390 AMAZON MKTPL*R45V621F1 Amzn.com/bi WA                           Lisa Personal 4943 DIP    August Export   $      (19.43) General Merchandise
8/29/2024   DEBIT CARD PURCHASE XXXXX5390 THE HOME DEPOT #4127        STROUDSBURG PA                      Lisa Personal 4943 DIP    August Export   $      (65.62) General Merchandise
8/2/2024    DEBIT CARD PURCHASE XXXXX0646 LOVE'S #0829 OUTSIDE      BROOKVILLE PA                         PNC Joint Checking 2001   August Export   $      (76.46) Groceries
8/6/2024    DEBIT CARD PURCHASE XXXXX0646 SHEETZ 0194 00001941 FALLS CREEK PA                             PNC Joint Checking 2001   August Export   $      (62.89) Groceries
8/9/2024    DEBIT CARD PURCHASE XXXXX9967 GIANT MARTINS #6504       EAST STROUD PA                        PNC Joint Checking 2001   August Export   $      (41.76) Groceries
8/9/2024    DEBIT CARD PURCHASE XXXXX9967 TREANA WINERY LLC         XXXXX6979 CA                          PNC Joint Checking 2001   August Export   $     (548.66) Groceries
8/12/2024   DEBIT CARD PURCHASE XXXXX9967 WINE AND SPIRITS 4501 EAST STROUD PA                            PNC Joint Checking 2001   August Export   $     (317.93) Groceries
8/14/2024   DEBIT CARD PURCHASE XXXXX9967 CIRCLE K 08194       BOSSIER CIT LA                             PNC Joint Checking 2001   August Export   $       (4.60) Groceries
8/15/2024   DEBIT CARD PURCHASE XXXXX9967 CIRCLE K 08194       BOSSIER CIT LA                             PNC Joint Checking 2001   August Export   $      (20.02) Groceries
8/19/2024   DEBIT CARD PURCHASE XXXXX0646 SHEETZ 0314 00003145 NEW ALEXAND PA                             PNC Joint Checking 2001   August Export   $      (32.52) Groceries
8/20/2024   DEBIT CARD PURCHASE XXXXX9967 WEIS MARKETS 166         TANNERSVILL PA                         PNC Joint Checking 2001   August Export   $     (100.57) Groceries
8/23/2024   DEBIT CARD PURCHASE XXXXX9967 WINE AND SPIRITS 0247 PITTSBURGH PA                             PNC Joint Checking 2001   August Export   $     (149.79) Groceries
8/23/2024   DEBIT CARD PURCHASE XXXXX9967 WINE AND SPIRITS 0247 PITTSBURGH PA                             PNC Joint Checking 2001   August Export   $      (88.02) Groceries
8/23/2024   DEBIT CARD PURCHASE XXXXX0646 GIANT MARTINS #6504       EAST STROUD PA                        PNC Joint Checking 2001   August Export   $      (25.43) Groceries
8/26/2024   DEBIT CARD PURCHASE XXXXX9967 SHEETZ 2204 00022046 Murrysville PA                             PNC Joint Checking 2001   August Export   $      (79.25) Groceries
8/26/2024   DEBIT CARD PURCHASE XXXXX9967 ALDI 69080         PITTSBURGH PA                                PNC Joint Checking 2001   August Export   $      (64.58) Groceries
8/26/2024   DEBIT CARD PURCHASE XXXXX9967 TRADER JOE S #638       PITTSBURGH PA                           PNC Joint Checking 2001   August Export   $      (79.58) Groceries
8/26/2024   DEBIT CARD PURCHASE XXXXX9967 SHEETZ 0498 00004986 BLAIRSVILLE PA                             PNC Joint Checking 2001   August Export   $       (2.49) Groceries
8/27/2024   DEBIT CARD PURCHASE XXXXX0646 WINE AND SPIRITS 4501 EAST STROUD PA                            PNC Joint Checking 2001   August Export   $      (25.43) Groceries
8/28/2024   DEBIT CARD PURCHASE XXXXX0646 WEIS MARKETS 159         STROUDSBURG PA                         PNC Joint Checking 2001   August Export   $      (68.46) Groceries
8/29/2024   DEBIT CARD PURCHASE XXXXX0646 ALDI 60085         STROUDSBURG PA                               PNC Joint Checking 2001   August Export   $     (124.57) Groceries
8/29/2024   DEBIT CARD PURCHASE XXXXX0646 HIGHMARK BENEFITS GROU https://WWW PA                           PNC Joint Checking 2001   August Export   $     (640.90) Groceries
8/30/2024   DEBIT CARD PURCHASE XXXXX9967 SUPER 1 FOODS 618       TEXARKANA TX                            PNC Joint Checking 2001   August Export   $      (10.80) Groceries
8/20/2024   CORPORATE ACH 73666 HRAC       HRAC PAYMT - Hampton Roads Acceptance Company - Bathfitters hanLisa Personal 4943 DIP    August Export   $     (264.50) Handicap Bathroom Renovation Payment
8/23/2024   DEBIT CARD PURCHASE XXXXX9967 WALGREENS #9281          PITTSBURGH PA                          PNC Joint Checking 2001   August Export   $      (11.62) Healthcare
8/26/2024   DEBIT CARD PURCHASE XXXXX9967 QDIQUEST DIAGNOSTICS XXXXX2604 PA                               PNC Joint Checking 2001   August Export   $      (35.94) Healthcare
8/26/2024   DEBIT CARD PURCHASE XXXXX9967 PROGRESSIVE PHYSICIANS XXXXX6243 PA                             PNC Joint Checking 2001   August Export   $     (276.00) Healthcare
8/28/2024   DEBIT CARD PURCHASE XXXXX0646 ADERIS HEALTH TECHNOLO XXXXX6053 FL                             PNC Joint Checking 2001   August Export   $     (151.62) Healthcare
8/6/2024    RECURRING DEBIT CARD XXXXX7219 Audible*RF08H88X0      Amzn.com/bi NJ                          PNC Joint Checking 2001   August Export   $      (15.85) Hobbies
8/5/2024    DEBIT CARD PURCHASE XXXXX0646 814 HOME & HARDWARE LL BROCKWAY PA                              PNC Joint Checking 2001   August Export   $      (68.74) Home Improvement
8/8/2024    DEBIT CARD PURCHASE XXXXX0646 THE HOME DEPOT 4127        STROUDSBURG PA                       PNC Joint Checking 2001   August Export   $     (245.63) Home Improvement
8/19/2024   DEBIT CARD PURCHASE XXXXX0646 THE HOME DEPOT #4136        PITTSBURGH PA                       PNC Joint Checking 2001   August Export   $      (46.21) Home Improvement
8/19/2024   DEBIT CARD PURCHASE XXXXX0646 THE HOME DEPOT #4127        STROUDSBURG PA                      PNC Joint Checking 2001   August Export   $     (229.03) Home Improvement
8/26/2024   DEBIT CARD PURCHASE XXXXX9967 THE HOME DEPOT #4127        STROUDSBURG PA                      PNC Joint Checking 2001   August Export   $     (213.65) Home Improvement
8/1/2024    DEBIT CARD PURCHASE XXXXX9967 STATE FARM INSURANCE XXXXX6310 IL                               PNC Joint Checking 2001   August Export   $     (996.64) Insurance
8/19/2024   DEBIT CARD PURCHASE XXXXX0646 STATE FARM INSURANCE XXXXX6310 IL                               PNC Joint Checking 2001   August Export   $     (125.00) Insurance
8/26/2024   DEBIT CARD PURCHASE XXXXX9967 UNITED CONCORDIA INC         https://WWW PA                     PNC Joint Checking 2001   August Export   $     (128.96) Insurance
8/30/2024   DEBIT CARD PURCHASE XXXXX9967 STATE FARM INSURANCE XXXXX6310 IL                               PNC Joint Checking 2001   August Export   $     (715.56) Insurance
8/1/2024    DEBIT CARD PURCHASE XXXXX5390 MCDONALD'S F10930         EBENSBURG PA                          Lisa Personal 4943 DIP    August Export   $       (4.76) Meals
8/8/2024    DEBIT CARD PURCHASE XXXXX5390 MARITAS CANTINA           XXXXX8355 PA                          Lisa Personal 4943 DIP    August Export   $      (55.76) Meals
8/12/2024   ACH WEB      CKFXXXXX8710POS ROUNDPOINT MORTG ONLINE PMT                                      PNC Joint Checking 2001   August Export   $   (2,000.00) Mortgage
8/26/2024   DEBIT CARD PURCHASE XXXXX9967 STAPLES      00117994 PITTSBSURGH PA                            PNC Joint Checking 2001   August Export   $      (10.69) Office Supplies
8/2/2024    DEBIT CARD PURCHASE XXXXX0646 WEST KITTANNING SHO          KITTANNING PA                      PNC Joint Checking 2001   August Export   $       (9.25) Other Expenses
8/9/2024    DEBIT CARD PURCHASE XXXXX9967 PPY*Legacy Looks      East Stroud PA                            PNC Joint Checking 2001   August Export   $      (35.00) Other Expenses
8/21/2024   RECURRING DEBIT CARD XXXXX7234 LOCKTYTE SS 6226        XXXXX0721 PA                           PNC Joint Checking 2001   August Export   $     (200.34) Personal Expenses
8/22/2024   RECURRING DEBIT CARD XXXXX7235 LOCKTYTE SS 6226        XXXXX0721 PA                           PNC Joint Checking 2001   August Export   $     (210.94) Personal Expenses
8/26/2024   DEBIT CARD PURCHASE XXXXX0646 KEN AND COMPANY SALON XXXXX4701 PA                              PNC Joint Checking 2001   August Export   $     (127.20) Personal Expenses
8/12/2024   N0809 9967 PAYMENT POS004   2173199 TMOBILE AU         BELLEVUE WA                            PNC Joint Checking 2001   August Export   $     (346.85) Phone
8/2/2024    RECURRING DEBIT CARD XXXXX0215 APPLECOMBILL          XXXXX7753 CA                             Lisa Personal 4943 DIP    August Export   $      (74.19) Phone
8/21/2024   DEBIT CARD PURCHASE XXXXX9967 U-HAULBUTLER PARK SELF STROUDSBURG PA                           PNC Joint Checking 2001   August Export   $      (46.39) Rent
8/1/2024    DEBIT CARD PURCHASE XXXXX9967 TST* ROOKIES          BRADFORD PA                               PNC Joint Checking 2001   August Export   $      (29.07) Restaurants and Dining
8/5/2024    DEBIT CARD PURCHASE XXXXX9967 KFC C253007         CLEARFIELD PA                               PNC Joint Checking 2001   August Export   $      (11.12) Restaurants and Dining
8/5/2024    DEBIT CARD PURCHASE XXXXX9967 BEEFEATERS           XXXXX9717 PA                               PNC Joint Checking 2001   August Export   $      (57.18) Restaurants and Dining
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8/5/2024    DEBIT CARD PURCHASE XXXXX9967 ARAMARK OLEAN GENERAL OLEAN                 NY   PNC Joint Checking 2001      August Export   $        (7.55) Restaurants and Dining
8/5/2024    DEBIT CARD PURCHASE XXXXX9967 ARAMARK OLEAN GENERAL OLEAN                 NY   PNC Joint Checking 2001      August Export   $        (4.85) Restaurants and Dining
8/7/2024    DEBIT CARD PURCHASE XXXXX9967 TST* DENTED KEG BREWIN CLEARFIELD PA             PNC Joint Checking 2001      August Export   $       (45.96) Restaurants and Dining
8/7/2024    DEBIT CARD PURCHASE XXXXX9967 42459 MMS PENN HIGHLAN DUBOIS             PA     PNC Joint Checking 2001      August Export   $        (6.46) Restaurants and Dining
8/7/2024    DEBIT CARD PURCHASE XXXXX9967 42459 MMS PENN HIGHLAN DUBOIS             PA     PNC Joint Checking 2001      August Export   $        (3.72) Restaurants and Dining
8/8/2024    DEBIT CARD PURCHASE XXXXX9967 MCDONALD'S F6752         DANVILLE PA             PNC Joint Checking 2001      August Export   $        (9.62) Restaurants and Dining
8/8/2024    DEBIT CARD PURCHASE XXXXX9967 TST* DENTED KEG BREWIN CLEARFIELD PA             PNC Joint Checking 2001      August Export   $       (55.97) Restaurants and Dining
8/12/2024   DEBIT CARD PURCHASE XXXXX9967 DUNKIN #359283        ALLENTOWN PA               PNC Joint Checking 2001      August Export   $       (12.12) Restaurants and Dining
8/12/2024   DEBIT CARD PURCHASE XXXXX9967 TST* MOUNTAIN VIEW VIN STROUDSBURG PA            PNC Joint Checking 2001      August Export   $       (17.40) Restaurants and Dining
8/12/2024   DEBIT CARD PURCHASE XXXXX9967 TST* MOUNTAIN VIEW VIN STROUDSBURG PA            PNC Joint Checking 2001      August Export   $       (68.00) Restaurants and Dining
8/12/2024   DEBIT CARD PURCHASE XXXXX9967 MOMENTO RESTAURANT            STROUDSBURG PA     PNC Joint Checking 2001      August Export   $      (204.43) Restaurants and Dining
8/12/2024   DEBIT CARD PURCHASE XXXXX9967 BITE AMERICAN TACOS         EAST STROUD PA       PNC Joint Checking 2001      August Export   $       (21.33) Restaurants and Dining
8/13/2024   DEBIT CARD PURCHASE XXXXX9967 BEAUXJAX CRAFTHOUSE           BOSSIER CIT LA     PNC Joint Checking 2001      August Export   $       (50.19) Restaurants and Dining
8/13/2024   DEBIT CARD PURCHASE XXXXX9967 SYCAMORE BREWING E EXT CHARLOTTE NC              PNC Joint Checking 2001      August Export   $       (28.87) Restaurants and Dining
8/14/2024   DEBIT CARD PURCHASE XXXXX9967 MCDONALD'S F1768         BOSSIER CIT LA          PNC Joint Checking 2001      August Export   $        (5.56) Restaurants and Dining
8/14/2024   DEBIT CARD PURCHASE XXXXX9967 SUPERIOR'S STEAK HOUSE SHREVEPORT LA             PNC Joint Checking 2001      August Export   $      (180.32) Restaurants and Dining
8/14/2024   DEBIT CARD PURCHASE XXXXX9967 LAUGHING CRAB           SHREVEPORT LA            PNC Joint Checking 2001      August Export   $       (37.60) Restaurants and Dining
8/16/2024   DEBIT CARD PURCHASE XXXXX9967 TST*POSADOS CAFE - BOS Bossier Cit LA            PNC Joint Checking 2001      August Export   $       (32.17) Restaurants and Dining
8/16/2024   DEBIT CARD PURCHASE XXXXX9967 STARBUCKS STORE 09604 BOSSIER CIT LA             PNC Joint Checking 2001      August Export   $        (6.51) Restaurants and Dining
8/19/2024   DEBIT CARD PURCHASE XXXXX9967 DAIRY QUEEN #70679       ELMIRA        NY        PNC Joint Checking 2001      August Export   $        (6.57) Restaurants and Dining
8/19/2024   DEBIT CARD PURCHASE XXXXX9967 KFC G135982         BRADFORD PA                  PNC Joint Checking 2001      August Export   $       (11.95) Restaurants and Dining
8/19/2024   DEBIT CARD PURCHASE XXXXX9967 MCDONALD'S F3802         BRADFORD PA             PNC Joint Checking 2001      August Export   $        (5.00) Restaurants and Dining
8/19/2024   DEBIT CARD PURCHASE XXXXX0646 GUY FIERI MT AIRY       MOUNT POCON PA           PNC Joint Checking 2001      August Export   $       (24.14) Restaurants and Dining
8/19/2024   DEBIT CARD PURCHASE XXXXX0646 GUY FIERI MT AIRY       MOUNT POCON PA           PNC Joint Checking 2001      August Export   $      (131.14) Restaurants and Dining
8/19/2024   DEBIT CARD PURCHASE XXXXX9967 KABOBS AT THE OPTION H BRADFORD PA               PNC Joint Checking 2001      August Export   $       (57.87) Restaurants and Dining
8/19/2024   DEBIT CARD PURCHASE XXXXX9967 MCDONALD'S F11893         CUBA        NY         PNC Joint Checking 2001      August Export   $        (2.48) Restaurants and Dining
8/19/2024   DEBIT CARD PURCHASE XXXXX9967 MCDONALD'S F3665         STROUDSBURG PA          PNC Joint Checking 2001      August Export   $       (12.39) Restaurants and Dining
8/19/2024   DEBIT CARD PURCHASE XXXXX0646 SQ *SHAHS HALAL FOOD         Pittsburgh PA       PNC Joint Checking 2001      August Export   $       (29.51) Restaurants and Dining
8/19/2024   DEBIT CARD PURCHASE XXXXX9967 TAILWIND SHV          SHREVEPORT LA              PNC Joint Checking 2001      August Export   $        (8.06) Restaurants and Dining
8/21/2024   DEBIT CARD PURCHASE XXXXX0646 Subway 12144       Stroudsburg PA                PNC Joint Checking 2001      August Export   $       (17.55) Restaurants and Dining
8/22/2024   DEBIT CARD PURCHASE XXXXX9967 JIMMYS HILLTOP ICE CRE BRODHEADSVI PA            PNC Joint Checking 2001      August Export   $       (17.14) Restaurants and Dining
8/26/2024   DEBIT CARD PURCHASE XXXXX0646 TST* MOUNTAIN VIEW VIN STROUDSBURG PA            PNC Joint Checking 2001      August Export   $       (55.11) Restaurants and Dining
8/26/2024   DEBIT CARD PURCHASE XXXXX9967 TST* MOUNTAIN VIEW VIN STROUDSBURG PA            PNC Joint Checking 2001      August Export   $       (56.18) Restaurants and Dining
8/26/2024   DEBIT CARD PURCHASE XXXXX9967 TST* MOUNTAIN VIEW VIN STROUDSBURG PA            PNC Joint Checking 2001      August Export   $        (8.42) Restaurants and Dining
8/26/2024   DEBIT CARD PURCHASE XXXXX0646 TST* MOUNTAIN VIEW VIN STROUDSBURG PA            PNC Joint Checking 2001      August Export   $       (24.76) Restaurants and Dining
8/26/2024   DEBIT CARD PURCHASE XXXXX0646 TST* MOUNTAIN VIEW VIN STROUDSBURG PA            PNC Joint Checking 2001      August Export   $       (34.80) Restaurants and Dining
8/26/2024   DEBIT CARD PURCHASE XXXXX9967 SPARKLE RT 611        STROUDSBURG PA             PNC Joint Checking 2001      August Export   $       (15.00) Restaurants and Dining
8/26/2024   DEBIT CARD PURCHASE XXXXX9967 ARBY'S 324         MIFFLINVILL PA                PNC Joint Checking 2001      August Export   $        (5.18) Restaurants and Dining
8/26/2024   DEBIT CARD PURCHASE XXXXX9967 BURGER KING #23950       STATE COLLE PA          PNC Joint Checking 2001      August Export   $        (6.68) Restaurants and Dining
8/26/2024   DEBIT CARD PURCHASE XXXXX9967 WENDYS 2381          MONROEVILLE PA              PNC Joint Checking 2001      August Export   $       (15.16) Restaurants and Dining
8/26/2024   DEBIT CARD PURCHASE XXXXX9967 CHICK-FIL-A #02603     STATE COLLE PA            PNC Joint Checking 2001      August Export   $       (21.91) Restaurants and Dining
8/27/2024   DEBIT CARD PURCHASE XXXXX9967 LOCALUNAMEXICANGRILL            TEXARKANA TX     PNC Joint Checking 2001      August Export   $       (38.93) Restaurants and Dining
8/27/2024   DEBIT CARD PURCHASE XXXXX9967 MCDONALD'S F15967         TEXARKANA TX           PNC Joint Checking 2001      August Export   $        (6.80) Restaurants and Dining
8/27/2024   DEBIT CARD PURCHASE XXXXX9967 TST* WALK-ON'S - TEXAR TEXARKANA TX              PNC Joint Checking 2001      August Export   $       (46.90) Restaurants and Dining
8/27/2024   DEBIT CARD PURCHASE XXXXX9967 TST*COUSINS BBQ - B47 Dallas          TX         PNC Joint Checking 2001      August Export   $       (28.01) Restaurants and Dining
8/27/2024   DEBIT CARD PURCHASE XXXXX9967 BEECHERS            NEWARK         NJ            PNC Joint Checking 2001      August Export   $       (14.91) Restaurants and Dining
8/29/2024   DEBIT CARD PURCHASE XXXXX9967 PAR*TACOS 4 LIFE - TEX TEXARKANA TX              PNC Joint Checking 2001      August Export   $       (23.29) Restaurants and Dining
8/30/2024   DEBIT CARD PURCHASE XXXXX9967 PANDA EXPRESS #3515        TEXARKANA TX          PNC Joint Checking 2001      August Export   $        (8.98) Restaurants and Dining
8/2/2024    ACH WEB     CKFXXXXX8710POS BANK OF AMERICA ONLINE PMT                         PNC Joint Checking 2001      August Export   $    (2,000.00) Services and Supplies
8/5/2024    DEBIT CARD PURCHASE XXXXX9967 TMB PHY REGISTRATION         EGOV.COM TX         PNC Joint Checking 2001      August Export   $      (290.11) Services and Supplies
8/5/2024    RECURRING DEBIT CARD XXXXX7217 DNHGODADDYXXXXX4523 httpswww AZ                 PNC Joint Checking 2001      August Export   $       (46.62) Services and Supplies
8/12/2024   RECURRING DEBIT CARD XXXXX7225 INTUIT *QBooks Online CL.INTUIT.C CA            PNC Joint Checking 2001      August Export   $      (104.94) Services and Supplies
8/20/2024   DEBIT CARD PURCHASE XXXXX0646 USPS PO XXXXX0360        STROUDSBURG PA          PNC Joint Checking 2001      August Export   $       (13.55) Shipping
8/5/2024    ONLINE TRANSFER TO    XXXXX5397                                                PNC Joint Checking 2001      August Export   $    (5,500.00) Transfers
8/20/2024   ONLINE TRANSFER TO    XXXXX7132                                                PNC Joint Checking 2001      August Export   $      (462.00) Transfers
8/21/2024   ACH WEB     XXXXX5034 IMPACTSHARE TRANSFER                                     PNC Joint Checking 2001      August Export   $      (605.00) Transfers
8/23/2024   TWH AUTO TRANSFER TO      XXXXX5397                                            PNC Joint Checking 2001      August Export   $       (25.00) Transfers
8/23/2024   TWH AUTO TRANSFER TO      XXXXX0164                                            PNC Joint Checking 2001      August Export   $      (250.00) Transfers
8/27/2024   ONLINE TRANSFER TO    XXXXX4943                                                PNC Joint Checking 2001      August Export   $      (500.00) Transfers
8/27/2024   ONLINE TRANSFER TO    XXXXX5397                                                PNC Joint Checking 2001      August Export   $   (13,000.00) Transfers
8/22/2024   ONLINE TRANSFER TO    XXXXX2001                                                PNC Joint Savings 5397 DIP   August Export   $    (1,000.00) Transfers
                                   Case 24-16283-JKS Doc 21-2 Filed 10/15/24 Entered 10/15/24 15:36:04                              Desc
                                                    Exhibit B- Cash Disbursements Page 4 of 4

8/5/2024    DEBIT CARD PURCHASE   XXXXX9967 BEST WESTERN PLUS (RES BRADFORD PA      PNC Joint Checking 2001   August Export   $    (29.56) Travel
8/6/2024    DEBIT CARD PURCHASE   XXXXX9967 BEST WESTERN PLUS        BRADFORD PA    PNC Joint Checking 2001   August Export   $   (325.43) Travel
8/12/2024   DEBIT CARD PURCHASE   XXXXX9967 AMERICAN AI XXXXX7748 XXXXX7300 TX      PNC Joint Checking 2001   August Export   $   (138.14) Travel
8/16/2024   DEBIT CARD PURCHASE   XXXXX9967 Norwegian Cruise Line XXXXX7350 FL      PNC Joint Checking 2001   August Export   $   (692.00) Travel
8/16/2024   DEBIT CARD PURCHASE   XXXXX9967 ATLANTA AIRPORT         ATLANTA GA      PNC Joint Checking 2001   August Export   $    (10.53) Travel
8/19/2024   DEBIT CARD PURCHASE   XXXXX9967 LEHIGH NORTHAMPTON AIR ALLENTOWN PA     PNC Joint Checking 2001   August Export   $    (70.00) Travel
8/20/2024   DEBIT CARD PURCHASE   XXXXX9967 BEST WESTERN PLUS        BRADFORD PA    PNC Joint Checking 2001   August Export   $   (199.80) Travel
8/23/2024   DEBIT CARD PURCHASE   XXXXX0646 STROUDSMOOR COUNTRY IN STROUDSBURG PA   PNC Joint Checking 2001   August Export   $    (10.95) Travel
8/26/2024   DEBIT CARD PURCHASE   XXXXX9967 AMERICAN AI XXXXX1881 XXXXX7300 TX      PNC Joint Checking 2001   August Export   $    (35.00) Travel
8/27/2024   DEBIT CARD PURCHASE   XXXXX9967 HILTON GARDEN INN REST TEXARKANA TX     PNC Joint Checking 2001   August Export   $    (53.47) Travel
8/28/2024   DEBIT CARD PURCHASE   XXXXX9967 HILTON GARDEN INN REST TEXARKANA TX     PNC Joint Checking 2001   August Export   $    (14.96) Travel
8/29/2024   DEBIT CARD PURCHASE   XXXXX9967 HILTON GARDEN INN REST TEXARKANA TX     PNC Joint Checking 2001   August Export   $    (24.94) Travel
